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           SUMMARY OF OPTIONS FOR SUBMISSION OF FINAL AND INTERIM PAYMENT CLAIMS

    TO:           ALL CLAIMANTS TO THE GULF COAST CLAIMS FACILITY

    RE:           FINAL AND INTERIM CLAIM SUBMISSION OPTIONS AND PROCEDURES

Please carefully review the Final and Interim Claim Submission Options and Procedures outlined below for
submission to the Gulf Coast Claims Facility (“GCCF”) of Final and Interim Payment Claims. You may submit a Final or
an Interim Claim.

         A Final Claim seeks to resolve your entire claim against BP and all other potentially liable parties for any and
          all past and future alleged damages. As explained below, you will be required to sign a release of liability in
          order to receive payment for a Final Claim. Do not sign a release of liability unless you want to accept the
          final payment as full and final resolution of all of your claims. If you sign a release of liability, you will not be
          able to seek further compensation from the GCCF, the Coast Guard, or in court including in the multidistrict
          litigation pending before the United States District Court for the Eastern District of Louisiana, titled, In re Oil
          Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010 MDL No. 2179. The
          multidistrict litigation is a consolidated grouping of federal law suits arising out of the Spill.

         There is a separate option for those claimants who want to file a Final Claim and who previously received an
          Emergency Advance Payment. Such claimants may apply for a Quick Payment Final Claim. This is an
          expedited procedure which offers a fixed amount of $5,000 for individuals and $25,000 for businesses to
          finally resolve their Final Claims. Under the Quick Payment Final Claim process, you do not have to
          document your final claim. Do not elect the Quick Payment Final Claim process unless you are willing to
          accept the fixed payment of $5,000 for individuals and $25,000 for businesses and to sign a full release of
          liability. If you sign a release of liability, you will not be able to seek further compensation from the GCCF,
          the Coast Guard, or in court.

         If you do not want to file a Final Claim at this time you may file an Interim Payment Claim. An Interim
          Payment Claim is a non‐final claim for additional past alleged damages that have not yet been
          compensated. In order to receive payment for an Interim Payment Claim you must fully document your past
          additional losses. You will not be required to sign a release of liability to obtain an Interim payment, and
          may file a Final Claim at a later time.

You have a right to consult with an attorney of your own choosing prior to accepting any settlement or signing a
release of legal rights. If you are represented by an attorney in connection with your claim, confer with your
attorney about your options before submitting a claim or signing a release.

The GCCF and its Claims Administrator, Kenneth R. Feinberg, act for and on behalf of BP Exploration & Production,
Inc. (“BP”) in fulfilling BP’s statutory obligations as a “responsible party” under the Oil Pollution Act of 1990.

If you do not understand your options or have a question, please call the GCCF toll free at 1‐800‐916‐4893 and ask
for Quick Pay Information.                                 Ex. 10
                                                                 Summary of Options for Submission of Final and Interim Payment Claims,
                                                               1 http://www.gulfcoastclaimsfacility.com/summary_options.pdf (last visited Feb. 18,
                                                                 2011).
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A.        VOLUNTARY QUICK PAYMENT FINAL CLAIM

                    $ 5,000 for Individuals
                    $25,000 for Businesses

If you previously received an Emergency Advance Payment you may choose to submit a Final Claim requesting a
Quick Payment of $5,000 if you are an individual claimant, or $25,000 if you are a business claimant. This Quick
Payment Final Claim option provides you with an automatic payment with no further review or requirement for
additional supporting documentation. The Quick Payment Final Claim option requires you to release and waive any
claims that you have or may have in the future against BP and all other potentially responsible parties with regard to
the Deepwater Horizon Incident and Oil Spill (the “Spill”) or to submit any claim for payment to the National
Pollution Funds Center, the Coast Guard office responsible for evaluating and approving Oil Pollution Act claims (the
“Coast Guard”). (A separate release will be required for claimants who have submitted a claim for physical injury or
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death.) Within 14 days of the receipt of the original signed release by the GCCF, a payment for $5,000 (if you are an
Individual) or $25,000 (if you are a Business) will be sent to you. This payment of a Quick Payment Final Claim
constitutes a final payment of your claim. A Quick Payment Final Claim is available only to those claimants who
have received an Emergency Advance Payment.

You have a right to consult with an attorney of your own choosing prior to accepting any settlement or signing a
release of legal rights.

To submit a Quick Payment Final Claim:

1) You must have received an Emergency Advance Payment.

2) You must complete the enclosed simple Quick Payment Final Claim Form. No additional documentation is
   required.

3) You must sign the release that is part of the Quick Payment Final Claim Form and return the original signed
   document to the GCCF. Read the release and cover information page to the release carefully. Do not sign the
   release unless you fully understand and agree to all of its terms. You have a right to consult with an attorney
   of your own choosing prior to accepting any settlement or signing a release of legal rights.

4) If you have received an Emergency Advance Payment, you may submit a Quick Payment Final Claim at any time
                                                             2
   prior to the close of the GCCF Program on August 22, 2013.

5) Amounts previously received for damages due to the Spill from BP, the GCCF, the Coast Guard, state
   unemployment benefits, and private insurance will not be deducted from the payment of a Quick Payment Final
   Claim. Legally authorized garnishments, liens or similar forms of attachments received relating to your claim will
   be honored and deducted from your payment.

B. VOLUNTARY FULL REVIEW FINAL PAYMENT CLAIM

If you do not choose or are not eligible for the Quick Payment Final Claim option, you may elect to submit a Full
Review Final Payment Claim to receive a lump sum single payment for all documented losses and damages, both
past and future. A Full Review Final Payment Claim requires complete substantiation and documentation of all
damages sustained in the past. You may choose to provide documents that support amounts claimed as future
damages as a result of the Spill, including documents demonstrating the manner in which such future damages have


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  If you choose to submit a Quick Payment Final Claim for physical injury or death, you must sign a Release of Bodily Injury Claims which
releases all claims for physical or mental injury related to the Spill. You must return the original signed document to the GCCF.
2
  If you file an Interim Claim and receive an Interim Payment, you will thereafter be eligible to submit a Quick Payment Final Claim.
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been calculated, the period of time for which they are claimed, and any expert reports or other analyses on which
the calculation is based. The GCCF will perform a complete analysis of all existing and newly submitted
documentation to compute, determine and pay all past and future damages. The GCCF will rely upon documentation
you submit and analyses and documentation provided to the GCCF by independent experts. You will receive a Final
Payment Offer based on the GCCF’s review and evaluation of the Full Review Final Payment Claim. You will receive a
written explanation of your payment calculation and you will have an opportunity to discuss your Final Payment
Offer with a member of the GCCF Senior Evaluation Team and/or a member of the Accounting Team. Acceptance of
a Full Review Final Payment Offer will require you to release and waive any claims that you have or may have in the
future against BP and all other potentially responsible parties with regard to the Spill or to submit any claim for
payment to the Coast Guard. A copy of the language of the release is included with the Full Review Final Payment
Claim Form. A separate release will be required for claimants who have submitted claims for physical injury or
death. You have the right to consult with an attorney of your own choosing prior to accepting any settlement or
signing a release of legal rights.

To Submit a Full Review Final Payment Claim:

1) You must complete the enclosed Full Review Final Payment Claim Form.

2) You must provide substantiation and documentation for all past damages caused by the Spill. The Gulf Coast
   Claims Facility Document Requirements accompanying the Claim Form identify the specific documentation
   requirements for each type of claim. If you previously submitted a claim with supporting documentation, you do
   not need to resubmit that documentation. You must submit any new documentation related to your claim which
   was not previously submitted to the GCCF.

3) Claimants who previously submitted a Final Claim with the GCCF do not have to submit a Full Review Final
   Payment Claim but should review the Gulf Coast Claims Facility Document Requirements and make sure all of
   the required documents have been submitted.

4) You may choose to provide documents that support amounts claimed as future damages as a result of the Spill,
   including documents demonstrating the manner in which such future damages have been calculated, the period
   of time for which they are claimed, and any expert reports or other analyses on which the calculation is based.

5) The GCCF will fully evaluate and determine your Full Review Final Payment Claim within 90 days of receipt of
   your substantiated claim. You will be notified of the amount of the Final Payment Offer within this 90‐day
   period. Claimants who previously submitted a Final Claim will have their claim reviewed on a priority basis.

6) You will receive your Final Payment Offer once eligibility of your claim is determined. Your Final Payment Offer
   will be a lump sum amount for all past and future damages (other than alleged physical or mental health injury)
   based upon specific documentation received and expert analysis of future damages if any. This Final Payment
   Offer will be valid for 90 days. If you have not accepted this Final Payment Offer during the 90‐day period, the
   GCCF will re‐evaluate any later submission or request for a Final Payment Offer you may make to reflect
   additional information and less uncertainty regarding damages.

7) Amounts previously received for damages due to the Spill from BP, the GCCF (including Emergency Advance
   Payments and Interim Payments), the Coast Guard, state unemployment benefits and private insurance will be
   deducted from your Full Review Final Payment. Legally authorized garnishments, liens, or similar forms of
   attachments received relating to your claim will be honored and deducted from your payment.

8) With the lump sum Final Payment Offer for all past and future damages, you will receive a copy of the release.3
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 Claimants receiving a Final Payment Offer for a physical injury or death claim will receive a copy of a Release of Bodily Injury Claims, which
will release all physical or mental injury (“Bodily Injury”) claims related to the Spill. In order to receive a Full Review Final Payment for a
physical injury or death claim, you will be required to sign a copy of the Release of Bodily Injury Claims.
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    To receive a Full Review Final Payment, you will be required to sign that release. Enclosed is a sample copy of
    the release you will be required to sign if you accept your Final Payment Offer. Please read the release and cover
    information page to the release carefully. Do not sign the release unless you fully understand and agree to all of
    its terms.

9) You may submit a Full Review Final Payment Claim at any time prior to the close of the GCCF Program on August
   22, 2013 (even if you have previously submitted and received an Emergency Advance Payment or an Interim
   Payment). You may accept only one Final Payment.

10) The Full Review Final Payment Claim evaluation and determination will include a review of the calculation of any
    previous Emergency Advance Payment. If appropriate, the GCCF will adjust the calculation and include any
    additional compensation as part of the Final Payment Offer.

C. VOLUNTARY INTERIM PAYMENT CLAIM

If you do not elect the Quick Payment Final Claim or the Full Review Final Payment Claim, you may submit an Interim
Payment Claim for additional past losses and damages incurred as a result of the Spill. An Interim Payment Claim
may be submitted only for documented PAST damages caused by the Spill. An Interim Payment is NOT an
Emergency Advance Payment. Previous payment of an Emergency Advance Payment is not required to submit an
Interim Payment Claim. If you have received an Emergency Advance Payment, you may now submit an Interim
Payment Claim; however, you will be compensated ONLY for additional documented losses or damages you have
incurred since the Spill for which you have not previously been compensated. An Interim Payment will not
compensate you for future losses or damages. For future losses or damages to be evaluated and paid, you must
submit a Full Review Final Payment Claim, described above.

To Submit an Interim Payment Claim:

1) You must complete the Interim Payment Claim Form.

2) You may submit an Interim Payment Claim only once each quarter of each calendar year throughout the
   duration of the GCCF Claims Program which concludes on August 22, 2013, or until the submission of either a
   Quick Payment Final Claim or a Full Review Final Payment Claim. The first quarter begins now and concludes on
   March 31, 2011. Subsequent quarters will be April 1 through June 30; July 1 through September 30; and October
   1 through December 31 of each year. Evaluation of your Interim Payment Claim consists of a review of your
   losses measured over the period that begins with the Spill and concludes at the end of the month for which you
   have provided the most recent actual financial data (“Loss Measurement Period”). If you have submitted an
   Interim Payment Claim you may submit a subsequent claim for Final Payment as discussed in Sections A and B
   above.

3) You must provide supporting documentation to demonstrate all past losses and damages sustained as a result of
   the Spill. The Gulf Coast Claims Facility Document Requirements accompanying the Claim Form identify the
   supporting documents required for each type of claim. If you previously submitted a claim with supporting
   documentation, you do not need to resubmit that documentation. However, you must supplement and update
   your documentation already on file with the GCCF to include the applicable Loss Measurement Period. If you
   have not previously submitted a claim, you must provide complete substantiation and documentation to
   support your claim for losses and damages. Deficiency notices for missing documents will not be sent to
   claimants submitting an Interim Payment Claim. Instead, your damages will be calculated only for the period(s)
   for which you provide the required documentation. You must provide all documentation you wish the GCCF to
   consider in calculating your Interim Payment.



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4) To receive an Interim Payment, you will not be required to execute a release or waive any rights to assert
   additional claims, to submit an individual legal action, or to participate in other legal actions associated with the
   Spill.

5) If appropriate, the GCCF will adjust the calculation of a previously paid Emergency Advance Payment and include
   any additional compensation as part of the Interim Payment. Amounts you previously received for damages due
   to the Spill from BP, the GCCF (including Emergency Advance Payments), the Coast Guard, state unemployment
   benefits and private insurance will be deducted from the Interim Payment. Legally authorized garnishments,
   liens or similar forms of attachments received relating to your claim will be honored and deducted from your
   payment.

6) Within 90 days of receipt of a substantiated claim for an Interim Payment, the GCCF will evaluate and review the
   submitted documentation. You will receive notice of your eligibility and calculated amount for payment of your
   Interim Payment Claim. At the same time, if the documents you have submitted permit the GCCF to do so, the
   GCCF also will provide you with the GCCF’s current valuation and Final Payment Offer for your claim; you will
   have the option to continue with the Interim Payment Claim process or to accept the GCCF’s Final Payment
   Offer. If you have previously filed a Final Claim with the GCCF and wish to file an Interim Payment Claim prior to
   completion of the Final Payment Claim Process, please notify the GCCF by checking the appropriate box on the
   Interim Payment Claim form. As stated above, if you have submitted sufficient documentation, the GCCF will
   provide you with the current valuation and Final Payment Offer for your claim. The GCCF’s valuation and Final
   Payment Offer for your claim may change at a later date to reflect additional information and less uncertainty
   regarding damages.

D. APPEALS

You will have an opportunity to appeal the GCCF’s determination of your Full Review Final Payment Claim if your
total payment (including any Emergency, Interim, or Final Payments made by BP or the GCCF) is in excess of
$250,000. Appeals will be made to a three Judge Panel. Any appeal must be made within 14 days of notification of
the GCCF’s determination of your Final Claim. Appeals will be determined within 14 days of assignment of the
appeal to the three Judge Panel. If you do not agree with the decision of the three Judge Panel, you may reject the
GCCF determination and pursue a claim with the Coast Guard or in the courts to the extent permitted by law.

There is also an additional appeal right available for a limited number of claims that the GCCF decides are of
precedential value for the GCCF’s process. To review the requirements for this type of limited appeal, visit
www.GulfCoastClaimsFacility.com and select Frequently Asked Questions: Appeals.




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